    Case: 1:16-cv-02622 Document #: 28 Filed: 02/27/17 Page 1 of 2 PageID #:245




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MATTHEW KAUFRINDER and CONNIE                          )
KAUFRINDER, by her son and next friend,                )
MATTHEW KAUFRINDER,                                    )
on behalf of plaintiffs and a class,                   )
                                                       )
                         Plaintiff,                    )
                                                       )      Case no. 16-cv-2622
                 vs.                                   )
                                                       )      Judge Bucklo
ANSELMO LINDBERG OLIVER LLC,                           )      Magistrate Judge Schenkier
                                                       )
                                                       )
                         Defendants.                   )

                                       NOTICE OF DISMISSAL

          Plaintiffs, by and through their attorneys, and pursuant to Fed R. Civ. P. 41(a)(1)(A)(i),

hereby dismiss their individual claims against Defendant with prejudice and class claims without

prejudice, and with each party bearing its own costs. This notice of dismissal disposes of the entire

action.



                                               Respectfully submitted,

                                               s/ Michelle A. Alyea
                                               Michelle A. Alyea

 Daniel A. Edelman
 Cathleen M. Combs
 James O. Latturner
 Michelle A. Alyea
 EDELMAN, COMBS, LATTURNER &
 GOODWIN, LLC
 20 S. Clark Street, Suite 1500
 Chicago, IL 60603
 (312) 739-4200
    Case: 1:16-cv-02622 Document #: 28 Filed: 02/27/17 Page 2 of 2 PageID #:245




                               CERTIFICATE OF SERVICE


        I, Michelle A. Alyea, hereby certify that on February 27, 2017, the foregoing document
was filed via the Court’s CM/ECF system, which caused a true and accurate copy of such filing to
be served via email upon all counsel of record.




                                                   s/Michelle A. Alyea
                                                   Michelle A. Alyea




                                               2
